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                                                                                       EXHIBIT 3
                                                            Plaintiffs’ Proposed Scheduling Order



                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                *              MDL No. 2179
       “Deepwater Horizon” in the Gulf         *
       of Mexico, on April 20, 2010            *              SECTION: J
                                               *
        Applies to: No. 10-2771                *              JUDGE BARBIER
                                               *              MAGISTRATE SHUSHAN
*   *    *   *    *   *    *     *   *   *   * *



                                 PRE-TRIAL ORDER NO. ____

         [SCHEDULING ORDER FOR LIMITATION AND TEST CASE TRIAL]


        In order to provide for the effective management and administration of the trial of the

Transocean Limitation, Docket No 10-2771, and associated cases and controversies at issue in

the above-captioned multi-district litigation proceedings, IT IS HEREBY ORDERED that:

        1. By May 2, 2011, the Plaintiffs Steering Committee shall provide Defense Liaison

Counsel and the Court with the identity of one or two personal injury / wrongful death test case

plaintiffs and one or two Robins Dry Dock test case plaintiffs who have each designated their

cases for bench trial under Rule 9(h). These plaintiffs shall be parties to the February 27, 2012

trial of liability, limitation, exoneration and fault allocation in Civil Action No. 10-2771, as well
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as the plaintiffs in a July 2012 test case trial on the questions of damages, entitlement to punitive

damages, and amount of punitive damages, if available.

       2. On or before August 15, 2011, the test case Plaintiffs shall serve expert reports for the

February 27, 2012 trial on Defense Liaison Counsel in accordance with Rule 26(a)(2).

       3. On or before September 15, 2011, the Vessel Owner / Petitioner in Limitation shall

serve expert reports for the February 27, 2012 trial on all Liaison Counsel in accordance with

Rule 26(a)(2).

       4. On or before October 17, 2011, all February 2012 test case Defendants, 14(c)

Defendants and/or Third-Party Defendants shall serve expert reports for the February 27, 2012

trial on all Liaison Counsel in accordance with Rule 26(a)(2).

       5. On or before November 15, 2011, the test case Plaintiffs shall serve any supplemental

and/or rebuttal expert reports for the February 27, 2012 trial on Defense Liaison Counsel.

       6. Depositions of experts for the February 27, 2012 trial shall commence on or after

November 16, 2011, and shall be completed by January 31, 2012.

       7. Any and all Daubert Motions and/or other Pre-Trail Motions, together with a Pre-Trial

Stipulation, Witness Lists and Exhibit Lists, relating to the February 27, 2012 trial shall be filed

on or before February 1, 2012.

       8. A final Pre-Trial Conference shall be held on February ___, 2012.




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        9. Trial of Limitation, Exoneration, Liability and Fault Allocation in Civil Action No. 10-

2771 and the test case actions shall commence on February 27, 2012.

        10. A separate Scheduling Order will be issued by the Court to govern any additional fact

or expert discovery and/or motion practice associated with the July 2012 trial of test case

damages, entitlement to punitive damages,1 and amount of punitive damages, if available.


        New Orleans, Louisiana, this ___ day of October, 2010.




                                                             CARL J. BARBIER
                                                             UNITED STATES DISTRICT JUDGE




        1
          Additional discussions among the parties and the Court will be conducted to determine whether this
Scheduling Order should be modified or amended to provide for inclusion of the entitlement to punitive damages
within the February 27, 2012 Trial.

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